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                                        UNITED STATES COURT OF APPEALS FOR THE SECOND CIRCUIT

                   Thurgood Marshall U.S. Courthouse 40 Foley Square, New York, NY 10007 Telephone: 212-857-8500

                                                                 MOTION INFORMATION STATEMENT

Docket Number(s): 23-870                                                                                            Caption [use short title]

Motion for: Dismissal of Appeal




Set forth below precise, complete statement of relief sought:

Movants (Defendants-Appellees) respectfully
                                                                                                    Griffin et al. v. Sheeran et al.
request that, pursuant to Rules 3(a)(2) and 31(c)
of the Federal Rules of Appellate Procedure and
Rule 31.2(d) of the Local Rules for the Second
Circuit, the Court dismiss the appeal due to
Plaintiffs-Appellants' failure to timely file their appeal brief.

                     Ed Sheeran, Atlantic Recording Corporation, Sony/AN Music Publishing LLC
MOVING PARTY:                                                                                   OPPOSING PARTY:

         (Plaintiff                         FIDefendant

         FlAppellant/Petitioner             nAppellee/Respondent

MOVING ATTORNEY: Donald S. Zakarin / Pryor Cashman LLP OPPOSING ATTORNEY:
                          [name of attorney, with firm, address, phone number and e-mail]
Donald S. Zakarin; Pryor Cashman LLP
7 Times Square, 40th Floor, New York, NY 10036
(212) 326-0108; DZakarin@pryorcashman.com
Court- Judge, Agency appealed from: United States District Court for the Southern District of New York; Hon. Louis L. Stanton

Please check appropriate boxes:                                                                   FOR EMERGENCY MOTIONS, MOTIONS FOR STAYS AND
                                                                                                  INJUCTIONS PENDING APPEAL:
Has movant notified o osing counsel (required by Local Rule 27.1):                                 Has this request for relief been made below?          es ❑UU
        nYes        iNo (explain):                                                                 Has this relief been previously sought in this court? es
                                                                                                   Requested return date and explanation of emergency:

Opposing counsel's position on motion:
        ❑UUUUUUUUU ❑UUUUUUUUUUUUUU Know
Does opposin counsel intend file a response:
          EtYes n UU✓ Don't Know


Is oral argument on motion requested?                     FlYes ENo (requests for oral argument will not necessarily be granted)

Has argument date of appeal been set?                     r1Yes FIN° If yes, enter date:
Signature of Moving Attorney:

                                                    Date: 08/25/2023                            Service by: FICM/ECF FlOther [Attach proof of service]




Form T-1080 (rev. 12-13)
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                 CORPORATE DISCLOSURE STATEMENT

      Pursuant to Rule 26.1 of the Federal Rules of Appellate Procedure, (1)

Defendant-Appellee Sony/ATV Music Publishing LLC n/k/a Sony Music

Publishing (US) LLC (“SATV”) identifies its parent corporation(s) and any publicly

held company that owns 10% or more of its stock as follows: SATV is a wholly-

owned, indirect subsidiary of Sony Corporation, a publicly traded company

organized under the laws of Japan, and (2) Defendant-Appellee Atlantic Recording

Corporation d/b/a Atlantic Records (“Atlantic”) identifies its parent corporation(s)

and any publicly held company that owns 10% or more of its stock as follows:

Atlantic is a wholly-owned, indirect subsidiary of Warner Music Group Corp.

(“WMG”), a Delaware corporation; WMG is a publicly traded company with more

than 10% of its stock owned by AI Entertainment Holdings LLC and certain

affiliates, which are not publicly traded companies.
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UNITES STATES COURT OF APPEALS
FOR THE SECOND CIRCUIT

KATHRYN TOWNSEND GRIFFIN,
HELEN MCDONALD, THE ESTATE OF
CHERRIGALE TOWNSEND, and THE
HELEN CHRISTINE TOWNSEND
MCDONALD TRUST, dated March 14, 2008

Plaintiffs-Appellants,                        Docket #: 23-870

v.                                            Appeal From: 17-cv-5221 (LLS)

EDWARD CHRISTOPHER SHEERAN,
p/k/a ED SHEERAN, ATLANTIC
RECORDING CORPORATION, d/b/a
ATLANTIC RECORDS, and SONY/ATV
MUSIC PUBLISHING LLC

Defendants-Appellees,

WARNER MUSIC GROUP
CORPORATION, d/b/a ASYLUM
RECORDS

Defendant.


 DEFENDANTS-APPELLEES’ MEMORANDUM OF LAW IN SUPPORT
              OF THEIR MOTION TO DISMISS

Of Counsel:                               PRYOR CASHMAN LLP
     Donald S. Zakarin                    7 Times Square
     Ilene S. Farkas                      New York, NY 10036
     Andrew M. Goldsmith                  (212) 421-4100
     Brian M. Maida
                                          Attorneys for Defendants Edward
                                          Christopher Sheeran, Atlantic
                                          Recording Corporation and Sony/ATV
                                          Music Publishing LLC
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         Defendants-Appellees Edward Christopher Sheeran p/k/a Ed Sheeran,

Atlantic Recording Corporation d/b/a Atlantic Records and Sony/ATV Music

Publishing LLC n/k/a Sony Music Publishing (US) LLC (together, “Appellees”)

respectfully submit this memorandum of law in support of their motion, pursuant to

Rules 3(a)(2) and 31(c) of the Federal Rules of Appellate Procedure (“FRAP”) and

Rule 31.2(d) of the Local Rules and Internal Operating Procedures of the Court of

Appeals for the Second Circuit (“Local Rules”), to dismiss the appeal of Plaintiffs-

Appellants Kathryn Townsend Griffin, Helen McDonald, The Estate of Cherrigale

Townsend and The Helen Christine Townsend McDonald Trust, dated March 14,

2008 (together, “Appellants”), due to Appellants’ failure to timely file their appeal

brief.

                                    ARGUMENT

I.       Legal Standard

         As the Federal Rules of Appellate Procedure and the Local Rules make clear,

an appeal may be dismissed where the appellant fails to file its brief in a timely

manner. See Fed. R. App. P. 31(c) (“If an appellant fails to file a brief within the

time provided by this rule, or within an extended time, an appellee may move to

dismiss the appeal.”); Local Rule 31.2(d) (“The court may dismiss an appeal or take

other appropriate action for failure to timely file a brief or to meet a deadline under

this rule”); see also FRAP 3(a)(2).


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         This Court routinely dismisses appeals where, as here, an appellant fails to

file an appeal brief in a timely manner. See, e.g., In re Nasdaq Mkt.-Makers Antitrust

Litig., 189 F.3d 461, 1999 WL 604444, at *1 (2d Cir. 1999) (“Because appellant has

refused to file a timely brief, … we exercise our discretion pursuant to Rule 3(a)(2)

to dismiss his appeal.”); S.E.C. v. Pittsford Cap. Income Partners, LLC, 305 F.

App’x 694, 695 (2d Cir. 2008) (“Tackaberry has not submitted a brief in his

appeal … We therefore exercise our discretion under Rule 3(a)(2) of the Federal

Rules of Appellate Procedure and dismiss his appeal.”).

II.      Appellants Have Failed To Timely File Their Appeal Brief

         As detailed below, considerably more than 40 days have elapsed since the

“ready date” for this appeal, and Appellants, in violation of Local Rule 31.2(a)(1)(A),

have not filed their appeal brief. Accordingly, this appeal should be dismissed,

especially given that this is not the first time Appellants have flouted this Court’s

Rules.

         Local Rule 31.2(a)(1)(A) provides that “[i]f the appellant fails to submit a

scheduling request” – and Appellants did not file a scheduling request – “the

deadline for its brief is 40 days after the ready date.” Because Appellants did not

file a certificate “that no transcript will be ordered,” and because this is not a FRAP

15 proceeding, the “ready date” for this appeal under Local Rule 31.2(a)(1)(A)

corresponds to Appellants’ “receipt of the last transcript.”


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      The trial underlying this appeal took place from April 24, 2023 through May

4, 2023. On May 12, 2023, Notices of Filing of Official Transcripts for all trial

transcripts were filed in the district court, which notices provided that the transcripts

had been finalized, subject only to potential redactions, with requests for redactions

to be made within 7 days (i.e., on or before May 19, 2023). (ECF 1 at 32-34). In

other words, upon payment to the court reporter, Appellants could have promptly

procured all of the transcripts underlying this appeal by no later than May 19, 2023.1

      Despite the foregoing, in their Form D executed on June 13, 2023 – which

Appellants filed belatedly on June 29, 2023, only after the Court entered an Order

conditionally dismissing their appeal (ECF 23) – Appellants certified that they were

“ordering a transcript,” and that they had sent their Form D to “the court reporter

and ha[d] made satisfactory arrangements with the court reporter for payment of the

cost of the transcript.” (ECF 25). Accepting that certification at face value, no

legitimate explanation exists for Appellants’ apparent failure to obtain the trial

transcripts and their undisputed failure to file their appeal brief. Indeed, because no

redactions were requested, the trial transcripts have been publicly available and




1
  By way of reference, during trial, Appellees had a standing order for trial
transcripts and received them promptly, typically later the same night or the next
day; Appellees have been in possession of the finalized transcripts since May 2023.
(Declaration of Donald S. Zakarin dated August 25, 2023 (“Zakarin Decl.”), ¶¶ 3,
5).
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capable of being downloaded from the district court docket since August 10, 2023.

(Zakarin Decl., ¶ 6).

       Giving Appellants complete benefit of the doubt and assuming they did not

order the transcripts until the date on which they filed their Form D (June 29, 2023)

– even though the transcripts have been final since May 19, 2023 at the absolute

latest – Appellants should have received the transcripts on or around June 29, 2023.

Thus, the latest possible “ready date” for this appeal is June 29, 2023, making

Appellants’ brief due on August 8, 2023, i.e., 40 days from June 29, 2023. No brief

has been filed, and the appeal should be dismissed.

III.   This Is Not The First Time Appellants Have Flouted This Court’s Rules

       Reinforcing the propriety of dismissing this appeal is the fact that Appellants

are recidivist offenders of this Court’s Rules.

       In particular, as noted above, Appellants also failed to file Form C (Civil

Appeal Pre-Argument Statement) and Form D (Civil Appeal Transcript Information

Form) in a timely manner. Having filed their Notice of Civil Appeal on June 5, 2023

(ECF 1), Appellants were required, pursuant to Local Rule 12.1(a), to file Form C

and Form D by June 19, 2023. They did not do so. Rather, Appellants only filed

the required forms on June 29, 2023 (ECF 25-26), after the Court filed an Order

conditionally dismissing the appeal as of July 10, 2023 unless Appellants filed the

required forms. (ECF 22-23).


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                                CONCLUSION

      For the foregoing reasons, Appellees respectfully request that this appeal be

dismissed pursuant to FRAP 3(a)(2) and 31(c) and Local Rule 31.2(d).

Dated:      New York, New York
            August 25, 2023


                                            PRYOR CASHMAN LLP

                                            By:/s/ Donald S. Zakarin
                                               Donald S. Zakarin
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                                            Edward Christopher Sheeran, Atlantic
                                            Recording Corporation and Sony/ATV
                                            Music Publishing LLC




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                      CERTIFICATE OF COMPLIANCE

      I hereby certify that the foregoing memorandum of law complies with FRAP

27 and Local Rule 27, because it contains 986 words. In preparing this certification,

I have relied on the word processing software used to prepare this document.


                                             /s/ Brian M. Maida
                                             Brian M. Maida




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UNITES STATES COURT OF APPEALS
FOR THE SECOND CIRCUIT

KATHRYN TOWNSEND GRIFFIN,
HELEN MCDONALD, THE ESTATE OF
CHERRIGALE TOWNSEND, and THE
HELEN CHRISTINE TOWNSEND
MCDONALD TRUST, dated March 14, 2008

Plaintiffs-Appellants,                         Docket #: 23-870

v.                                             Appeal From: 17-cv-5221 (LLS)

EDWARD CHRISTOPHER SHEERAN,                    DECLARATION OF DONALD
p/k/a ED SHEERAN, ATLANTIC                     S. ZAKARIN IN SUPPORT OF
RECORDING CORPORATION, d/b/a                   DEFENDANTS-APPELLEES’
ATLANTIC RECORDS, and SONY/ATV                 MOTION TO DISMISS
MUSIC PUBLISHING LLC

Defendants-Appellees,

WARNER MUSIC GROUP
CORPORATION, d/b/a ASYLUM
RECORDS

Defendant.


      I, DONALD S. ZAKARIN, declare as follows:

      1.     I am a member of Pryor Cashman LLP, counsel for Defendants-

Appellees Edward Christopher Sheeran (“Sheeran”), Atlantic Recording

Corporation d/b/a Atlantic Records (“Atlantic”) and Sony/ATV Music Publishing

LLC n/k/a Sony Music Publishing (US) LLC (“SATV,” together with Sheeran and

Atlantic, “Appellees”). I have personal knowledge of, and am fully familiar with,
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the facts set forth in this Declaration, which I respectfully submit in support of

Appellees’ motion to dismiss this appeal.

       2.    The trial underlying this appeal, which resulted in a verdict that Sheeran

independently created “Thinking Out Loud” and thus Appellees were not liable for

copyright infringement, took place from April 24, 2023 through May 4, 2023.

       3.    During trial, Appellees had a standing order for trial transcripts and

received them from the court reporters promptly, typically later that night or the next

day.

       4.    On May 12, 2023, Notices of Filing of Official Transcripts for all trial

transcripts were filed in the district court, which notices provided that the transcripts

had been finalized, subject only to potential redactions, with requests for redactions

to be made within 7 days (i.e., on or before May 19, 2023).

       5.    Appellees have been in possession of the finalized trial transcripts since

May 2023.

       6.    In fact, the trial transcripts are now publicly available and capable of

being downloaded from the district court docket.

       7.    Because this motion seeks substantive relief, in compliance with FRAP

27(a)(2)(B)(iii), annexed hereto as Exhibit 1 is a true and correct copy of the district

court’s judgment.




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      I declare under penalty of perjury under the laws of the United States of

America that the foregoing is true and correct.

Dated: August 25, 2023
                                             _________________________
                                               DONALD S. ZAKARIN




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               EXHIBIT 1
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          Case    23-870, DocumentDocument
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                                                       05/05/23    of 14
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 UNITED STATES DISTRICT COURT                                                      ELFC".       ‘.Yr-


SOUTHERN DISTRICT OF NEW YORK                                                      DO" #:
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------------------------------------------------------------X                       "
KATHRYN TOWNSEND GRIFFIN, THE ESTATE
OF CHERRIGALE TOWNSEND and THE HELEN
CHRISTINE TOWNSEND MCDONALD TRUST,
                    Plaintiffs,                                       17 CIVIL 5221 (LLS)
                                                                      17

                  -against-                                            JUDGMENT

EDWARD CHRISTOPHER SHEERAN, p/k/a ED
SHEERAN, ATLANTIC RECORDING
CORPORATION, d/b/a ATLANTIC RECORDS,
SONY/ATV MUSIC PUBLISHING, LLC, and
WARNER MUSIC GROUP CORPORATION, d/b/a
              RECORDS ,
ASYLUM RECORDS,
                                    Defendant.
------------------------------------------------------------X
                                                            X


         The issues in the above-entitled action having been brought on for trial before the Honorable

Louis L. Stanton, United States District Judge, and a jury on April 24, 2023; The Court having

reserved its decision on Defendants' Fed. R. Civ. P. 50 motion for judgment as a matter of
                                                                                        oflaw
                                                                                           law and

renewed Rule 50 motion, and at the conclusion of the trial on May 4, 2023,
                                                                     2023 , the jury having returned

a special verdict in favor of the defendants, it is,

         ORDERED, ADJUDGED AND DECREED: That the Complaint be and it is

hereby dismissed. The renewed Rule 50 motion for judgment as a matter of law is denied as moot.

DATED: New York, New York
       May 5, 2023


SO ORDERED
                                                                            J. KRAJICK
                                                                       RUBY J.
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